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HONORABLE ’RONALD B. LEIGHTON

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UN1TED sTATEs DISTRICT coURT
WESTERN DISTRICT oF WAan\IGToN

AT TACOMA
MONIQUE CHARLENE TILLMAN CASE NO. C16-5794 RBL
and ERIC BRANCH,
VERDICT FORM
Plaintiffs,
v.

JARED WILLIAMS and THE CITY OF
TACOMA,

Defendants.

 

 

 

 

We, the jury, answer the questions submitted by the Court as follows:

l.

Do you find that Officer Williams violated Monique Tillman’s constitutional rights by
using excessive force on May 24, 2014?

Yes<¥_ No _

Do you find that Oft`lcer Williams violated Monique Tillman’ s constitutional rights by
unreasonably seizing her on May 24, 2014?

Yes l No _

If you answered “Yes ” to Question 1 or 2, proceed to Qaestions 3, 4, and 5.` If you
answered “No ” to both Questz`ons 1 and 2, proceed to Question 6.

Do you find that Chief Ramsdell ratified Officer Williams’ deprivation of Monique
Tillman’s constitutional rights?

Yes >l_ No _

VERDICT FORM - l

 

 

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11.

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Do you find that the Tacoma Police Department’s official policy, practice, or custom Was
the moving force behind the deprivation of Monique Tillman’s constitutional rights?

Yes _ No >(_

Do you find that the Tacoma Police Department’s failure to adequately train Officer
Williams Was the moving force behind the deprivation of Monique Tillman’s
constitutional rights‘?

Yes _ No §§

Do you find that Of`ficer Williams falsely imprisoned Monique Tillman on May 24,
2014?

Yes z No _

Do you find that Of`ficer Williams maliciously prosecuted Monique Tillman?

Yes _ No l

If you answered “Y es ” to any of the questions above, proceed to Question 8. If you
answered “No ” to all of the questions above, proceed to Question 10.

What do you find to be the amount of Monique Tillman’s damages?
$L)UQM

Answer.Question 9 only if you answered “Yes ” to Question 1 or 2. If you

answered “No ” to Questions 1 and 2, skip Question 9 and proceed to Question

1 0.

Do you award punitive damages to Monique Tillman?

Yes _ No l

If yes, in What amount?

$

Do you find that Officer Williams violated Eric Branch’s constitutional rights by
unreasonably seizing him on May 24, 2014? `

Yes j No _

Do you find that Officer Williams falsely imprisoned Eric Branch on May 24, 2014?

Yes _X No _

VERDICT FORM ~ 2

 

 

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If you answered “Yes ” to Question 10 or 11, proceed to Question 12. If you answered
“No ” to Questions 10 and 11, sign and date the verdict form and notify the clerk.

,12. What do you find to be the amount of Eric Branch’s damages?

Answer Question 13 only if you answered “Yes ” to Question 10. If you answered

“No ” to Question 10, skip Question 13, sign and date the verdict form and notifv
the clerk

13. Do you award punitive damages to Eric Branch?

Yes _ No >L

If yes, in what amount?

$

Sign and date the verdict form and notify the clerk.

Dated this B¢iaiy of March, 2018.

 

VERDICT FORM - 3

 

 

